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                    IN THE UNITED STATES DISTRICT COURT
                                                     RT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS

       United States of America              )
               Plaintiff(s),                 )
                                             )          Case No: 1:23-cr-00239
               v.                            )          Magistrate Judge Gabriel A. Fuentes
                                             )
       Thomas Considine                      )
             Defendant(s),                   )

                                           ORDER

        Initial appearance and arraignment proceedings held. Defendant Thomas Considine self-
surrenders on 4/26/23 as ordered at 1:30 p.m. in Courtroom 1838. Based on review of the
tendered financial affidavit, the Court finds that Defendant is unable to afford counsel. Enter
Order appointing Attorney Christopher Grohman of the CJA Panel as counsel for Defendant.
Defendant was advised of charges and informed of his rights and of prosecutorial obligations per
Rule 5(d) and (f). The government and defendant agree on conditions of release, with no
government motion for detention or for a detention hearing. The Court, however, deferred a
decision on release until after a detention hearing set on the Court’s own motion per Section
3142(f)(2)(A), serious risk of flight. The Court explained on the record why the defendant’s
repeated and recent history of not abiding by conditions in the 9/27/21 release order in Case No.
21 CR 504, and including an apparent ongoing substance abuse problem which is making
defendant’s compliance with the release order, and with court orders, more difficult. The Court
noted the five bond violation reports in Case No. 21 CR 504 (with the most recent reports dated
2/13/23 and 3/31/23, when Pretrial Services recommended a bench warrant and bond revocation)
and the defendant’s difficulty in attending today’s proceedings in this matter, initially set for
10:30 a.m. The Court also noted defendant’s failure to appear in person on two occasions in No.
21 CR 504 despite being ordered to appear in person by Judge Alonso (the defendant appeared by
phone instead). The Court also noted the information in the record concerning Pretrial Services
having specifically confirmed for defendant by phone on 4/25/23 that he was to appear in person
at 10:30 a.m. today yet did not appear at that time, although he appeared at 1:30 p.m. after the
Court entered an order today directing him to appear at that time. Over defendant’s objection by
counsel, and without objection from the government, the Court granted its own motion that the
detention hearing be held and scheduled the hearing by agreement at 11 a.m. on 4/28/23 in
Courtroom #1838 of the Dirksen U.S. Courthouse, on the issue of risk of non-appearance. The
Court’s grant of its own motion for the detention hearing is without prejudice to any issue to be
determined at the detention hearing. Arraignment held. Defense acknowledges receipt of the
Indictment and waives formal reading. Defendant enters a plea of not guilty to all counts in the
Indictment. The schedule for certain preliminary proceedings is as follows: Rule 16.1(a)
conference to be conducted by 5/3/23. Telephonic hearing before Judge Gettleman set for
5/11/2023 at 9:50 a.m. on the Webex platform. Parties will not be asked to start their video.
Members of the public and media may listen to these proceedings by dialing (650) 479-3207 the




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meeting number, access code, or PIN/ID is 1809883385. Government’s oral motion to exclude
time through and including 5/11/23 is granted without objection. Time is excluded from today
through and including 5/11/23 under 18 U.S.C. § 3161(h)(7)(A)(B) and 18 U.S.C. § 3161(h)(1)
(D) to serve the ends of justice and to permit the parties to review discovery materials and allow
the reasonable time necessary for effective preparation, with such delay outweighing the interests
of the public and the defendant in a speedy trial, particularly at this early stage of the case. The
Defendant is remanded to the custody of U.S. Marshals Service pending the 4/28/23 detention
hearing, and the U.S. Marshals Service is kindly requested to determine what medications
defendant requires in custody so that such medication may be administered to defendant within
the discretion of the USMS and consistent with its constitutional obligations.

(00:50 IA)
(00:10 A)




  Date: 4/26/2023                                             /s/ _______________________
                                                              Gabriel A. Fuentes
                                                              United States Magistrate Judge




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